                 Case 14-42385                     Doc 1           Filed 11/06/14 Entered 11/06/14 15:54:29                                              Desc Main
B1 (Official Form 1) (04/13)
                                                                     Document Page 1 of 72
                                                   United States Bankruptcy Court
                                                   EASTERN DISTRICT OF TEXAS                                                                                     Voluntary Petition
                                                        SHERMAN DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Birdwell, Jennifer M.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-6037                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
2473 N. Field St., #3021
Dallas, TX
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            75201
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Dallas
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
2473 N. Field St., #3021
Dallas, TX
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            75201
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                Case 14-42385                    Doc 1            Filed 11/06/14 Entered 11/06/14 15:54:29                                      Desc Main
B1 (Official Form 1) (04/13)
                                                                    Document Page 2 of 72                                                                                        Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Jennifer M. Birdwell
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:


Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:


District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Richard A. Pelley                                              11/6/2014
                                                                                                 Richard A. Pelley                                                     Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1) (04/13)
                                                                   Document Page 3 of 72                                                                                           Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Jennifer M. Birdwell
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Jennifer M. Birdwell
      Jennifer M. Birdwell
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     11/6/2014
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Richard A. Pelley                                                                 defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Richard A. Pelley                                Bar No. 15732500                      have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Pelley Law Offices
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 905 N. Travis                                                                               given the debtor notice of the maximum amount before preparing any document
 Sherman, TX 75090                                                                           for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (903) 813-4778
 Phone No.______________________        (903) 813-0586
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     11/6/2014
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF TEXAS
                                                    SHERMAN DIVISION
In re:   Jennifer M. Birdwell                                                            Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
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                                                Document Page 5 of 72
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF TEXAS
                                                    SHERMAN DIVISION
In re:   Jennifer M. Birdwell                                                         Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Jennifer M. Birdwell
                       Jennifer M. Birdwell

Date:        11/6/2014
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B6A (Official Form 6A) (12/07)



In re Jennifer M. Birdwell                                                     Case No.
                                                                                                                     (if known)



                                         SCHEDULE A - REAL PROPERTY


                                                                                                                  Current Value




                                                                                        Husband, Wife, Joint,
                                                                                                                   of Debtor's
                   Description and                            Nature of Debtor's




                                                                                          or Community
                                                                                                                    Interest in
                     Location of                             Interest in Property
                                                                                                                Property, Without    Amount Of
                      Property                                                                                                      Secured Claim
                                                                                                                 Deducting Any
                                                                                                                 Secured Claim
                                                                                                                  or Exemption


 44 April Hill, Montgomery, TX 77356                   Real Property                       -                        $125,000.00       $113,010.00




                                                                                    Total:                          $125,000.00
                                                                                    (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)




In re Jennifer M. Birdwell                                                                    Case No.
                                                                                                           (if known)



                                           SCHEDULE B - PERSONAL PROPERTY




                                                                                                                Husband, Wife, Joint,
                                                                                                                                        Current Value of
                                                                                                                                        Debtor's Interest




                                                                                                                  or Community
                                                                                                                                           in Property,

                                            None
                                                                                                                                        Without Deducting
             Type of Property                                       Description and Location of Property                                  any Secured
                                                                                                                                             Claim or
                                                                                                                                            Exemption

1. Cash on hand.                             X

2. Checking, savings or other finan-               Checking account with Wells Fargo                                  -                         $800.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,              Savings account with Wells Fargo                                   -                         $100.00
thrift, building and loan, and home-
stead associations, or credit unions,              Checking account with Chase                                        -                           $3.00
brokerage houses, or cooperatives.
                                                   Savings account with Texans Credit Union                           -                          $25.00


3. Security deposits with public util-       X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,                TV                                                                 -                         $450.00
including audio, video and computer
equipment.                                         TV                                                                 -                         $400.00

                                                   2 TVs                                                              -                         $400.00

                                                   DVD players                                                        -                          $60.00

                                                   Blu-ray player                                                     -                         $150.00

                                                   Recliner                                                           -                         $200.00

                                                   Coffee tables                                                      -                         $300.00

                                                   End tables                                                         -                         $100.00

                                                   Lamps                                                              -                         $240.00

                                                   Computer                                                           -                         $300.00

                                                   Dinner table                                                       -                         $100.00

                                                   Dining chairs                                                      -                         $100.00
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B6B (Official Form 6B) (12/07) -- Cont.




In re Jennifer M. Birdwell                                                                   Case No.
                                                                                                          (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 1




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,

                                             None
                                                                                                                                       Without Deducting
             Type of Property                                      Description and Location of Property                                  any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


                                                    Dresser                                                          -                         $100.00

                                                    Armoirs                                                          -                         $450.00

                                                    Nightstands                                                      -                          $80.00

                                                    Mirrors                                                          -                         $400.00

                                                    Bed                                                              -                         $100.00



5. Books; pictures and other art                    Art                                                              -                       $1,000.00
objects; antiques; stamp, coin,
record, tape, compact disc, and other               Art                                                              -                       $1,000.00
collections or collectibles.
                                                    Art                                                              -                         $100.00

                                                    DVDs                                                             -                         $100.00

                                                    CDs                                                              -                         $100.00



6. Wearing apparel.                                 Wearing apparel                                                  -                         $450.00

                                                    Accessories                                                      -                         $400.00

                                                    Shoes                                                            -                         $300.00



7. Furs and jewelry.                                Wedding ring                                                     -                         $250.00

                                                    Watch                                                            -                         $300.00


8. Firearms and sports, photo-                      Hobby/Sporting equipment                                         -                         $100.00
graphic, and other hobby equipment.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Jennifer M. Birdwell                                                                   Case No.
                                                                                                          (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                               Continuation Sheet No. 2




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,

                                             None
                                                                                                                                       Without Deducting
             Type of Property                                      Description and Location of Property                                  any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


9. Interests in insurance policies.                 Whole life policy                                                -                         $698.00
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name               X
each issuer.

11. Interests in an education IRA as          X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,           X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-           X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint        X
ventures. Itemize.

15. Government and corporate bonds            X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                      X

17. Alimony, maintenance, support,            X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Jennifer M. Birdwell                                                              Case No.
                                                                                                     (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                          Continuation Sheet No. 3




                                                                                                          Husband, Wife, Joint,
                                                                                                                                  Current Value of
                                                                                                                                  Debtor's Interest




                                                                                                            or Community
                                                                                                                                     in Property,

                                             None
                                                                                                                                  Without Deducting
             Type of Property                                 Description and Location of Property                                  any Secured
                                                                                                                                       Claim or
                                                                                                                                      Exemption


18. Other liquidated debts owed to            X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life       X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent              X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-             X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other            X
intellectual property. Give
particulars.

23. Licenses, franchises, and other           X
general intangibles. Give particulars.

24. Customer lists or other compilations      X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
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B6B (Official Form 6B) (12/07) -- Cont.




In re Jennifer M. Birdwell                                                                    Case No.
                                                                                                                     (if known)



                                            SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

                                              None
                                                                                                                                                  Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


25. Automobiles, trucks, trailers,                   2006 BMW                                                                   -                      $20,000.00
and other vehicles and accessories.

26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                         Cat                                                                        -                          $10.00



32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                           $29,666.00
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
 Case 14-42385   Doc 1   Filed 11/06/14 Entered 11/06/14 15:54:29   Desc Main
                          Document Page 12 of 72



   It is Debtors’ intent to claim
an exemption in the “full” fair
market value or 100% of fair market
value of each of the above assets.

   Provided however, Debtors’ claim
of 100% of the fair market value as
exempt shall only be limited to the
maximum amount allowed for each
item as allowed by 11 U.S.C. §522.
              Case 14-42385            Doc 1        Filed 11/06/14 Entered 11/06/14 15:54:29                         Desc Main
                                                     Document Page 13 of 72
B6C (Official Form 6C) (4/13)



In re Jennifer M. Birdwell                                                                     Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 44 April Hill, Montgomery, TX 77356                     11 U.S.C. § 522(d)(5)                                 $11,875.00             $125,000.00

 Checking account with Wells Fargo                       11 U.S.C. § 522(d)(5)                                       $0.00                $800.00

 Savings account with Wells Fargo                        11 U.S.C. § 522(d)(5)                                       $0.00                $100.00

 Checking account with Chase                             11 U.S.C. § 522(d)(5)                                       $0.00                      $3.00

 Savings account with Texans Credit Union                11 U.S.C. § 522(d)(5)                                       $0.00                  $25.00

 TV                                                      11 U.S.C. § 522(d)(3)                                    $450.00                 $450.00

 TV                                                      11 U.S.C. § 522(d)(3)                                    $400.00                 $400.00

 2 TVs                                                   11 U.S.C. § 522(d)(3)                                    $400.00                 $400.00

 DVD players                                             11 U.S.C. § 522(d)(3)                                      $60.00                  $60.00

 Blu-ray player                                          11 U.S.C. § 522(d)(3)                                    $150.00                 $150.00

 Recliner                                                11 U.S.C. § 522(d)(3)                                    $200.00                 $200.00

 Coffee tables                                           11 U.S.C. § 522(d)(3)                                    $300.00                 $300.00

 End tables                                              11 U.S.C. § 522(d)(3)                                    $100.00                 $100.00

 Lamps                                                   11 U.S.C. § 522(d)(3)                                    $240.00                 $240.00

 Computer                                                11 U.S.C. § 522(d)(3)                                    $300.00                 $300.00



* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                               $14,475.00             $128,528.00
             Case 14-42385                Doc 1   Filed 11/06/14 Entered 11/06/14 15:54:29              Desc Main
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B6C (Official Form 6C) (4/13) -- Cont.



In re Jennifer M. Birdwell                                                            Case No.
                                                                                                       (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                        Continuation Sheet No. 1



                                                                                                                         Current
                                                                                                                    Value of Property
                                                         Specify Law Providing Each          Value of Claimed       Without Deducting
                Description of Property
                                                                  Exemption                     Exemption               Exemption



 Dinner table                                        11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 Dining chairs                                       11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 Dresser                                             11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 Armoirs                                             11 U.S.C. § 522(d)(3)                            $450.00                $450.00

 Nightstands                                         11 U.S.C. § 522(d)(3)                             $80.00                 $80.00

 Mirrors                                             11 U.S.C. § 522(d)(3)                            $400.00                $400.00

 Bed                                                 11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 Art                                                 11 U.S.C. § 522(d)(3)                            $575.00              $1,000.00

                                                     11 U.S.C. § 522(d)(5)                            $425.00

 Art                                                 11 U.S.C. § 522(d)(3)                            $575.00              $1,000.00

                                                     11 U.S.C. § 522(d)(5)                            $425.00

 Art                                                 11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 DVDs                                                11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 CDs                                                 11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 Wearing apparel                                     11 U.S.C. § 522(d)(3)                            $450.00                $450.00

 Accessories                                         11 U.S.C. § 522(d)(3)                            $400.00                $400.00

 Shoes                                               11 U.S.C. § 522(d)(3)                            $300.00                $300.00

 Wedding ring                                        11 U.S.C. § 522(d)(4)                            $250.00                $250.00

 Watch                                               11 U.S.C. § 522(d)(4)                            $300.00                $300.00


                                                                                                   $19,805.00            $133,858.00
             Case 14-42385                Doc 1   Filed 11/06/14 Entered 11/06/14 15:54:29              Desc Main
                                                   Document Page 15 of 72
B6C (Official Form 6C) (4/13) -- Cont.



In re Jennifer M. Birdwell                                                            Case No.
                                                                                                       (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                        Continuation Sheet No. 2



                                                                                                                         Current
                                                                                                                    Value of Property
                                                         Specify Law Providing Each          Value of Claimed       Without Deducting
              Description of Property
                                                                  Exemption                     Exemption               Exemption



 Hobby/Sporting equipment                            11 U.S.C. § 522(d)(3)                            $100.00                $100.00

 Whole life policy                                   11 U.S.C. § 522(d)(11)(C)                        $698.00                $698.00

 2006 BMW                                            11 U.S.C. § 522(d)(2)                              $0.00             $20,000.00

 Cat                                                 11 U.S.C. § 522(d)(3)                             $10.00                 $10.00




                                                                                                   $20,613.00            $154,666.00
            Case 14-42385           Doc 1                 Filed 11/06/14 Entered 11/06/14 15:54:29                                                   Desc Main
                                                           Document Page 16 of 72
B6D (Official Form 6D) (12/07)
          In re Jennifer M. Birdwell                                                                                      Case No.
                                                                                                                                                       (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                     AMOUNT OF         UNSECURED




                                                                                                                                   UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                       CLAIM           PORTION, IF




                                                                                                                                    CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                     DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                       WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                     DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                         VALUE OF
                                                                                             PROPERTY SUBJECT                                     COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    9/2011
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Deed of Trust
April Sound HOA                                                                   COLLATERAL:
                                                                                  44 April Hill, Montgomery, TX                                       $1,010.00
71 April Hill                                                   -                 REMARKS:
Montgomery, TX 77356                                                              Arrears




                                                                                  VALUE:                            $125,000.00
                                                                                  DATE INCURRED:    4/2013
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Certificate of Title
At Federal Credit Union                                                           COLLATERAL:
                                                                                  2006 BMW                                                           $25,000.00          $5,000.00
6420 US Hwy. 290 E                                              -                 REMARKS:
P.O. Box 14867
Austin, TX 78757


                                                                                  VALUE:                             $20,000.00
                                                                                  DATE INCURRED:    9/2011
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Deed of Trust
Bank of America                                                                   COLLATERAL:
                                                                                  44 April Hill, Montgomery, TX 77356                              $113,010.00
P.O. Box 650070                                                 -                 REMARKS:
Dallas, TX 75265-0070



                                                                                  VALUE:                            $125,000.00
                                                                                  DATE INCURRED:    Various
ACCT #:                                                                           NATURE OF LIEN:
                                                                                  Mortgage arrears
Bank of America                                                                   COLLATERAL:
                                                                                  44 April Hill, Montgomery, TX 77356                                $11,100.00
P.O. Box 650070                                                 -                 REMARKS:
Dallas, TX 75265-0070



                                                                                  VALUE:                            $125,000.00
                                                                                                          Subtotal (Total of this Page) >            $150,120.00           $5,000.00
                                                                                                         Total (Use only on last page) >             $150,120.00           $5,000.00
________________continuation
       No                    sheets attached                                                                                                      (Report also on   (If applicable,
                                                                                                                                                  Summary of        report also on
                                                                                                                                                  Schedules.)       Statistical
                                                                                                                                                                    Summary of
                                                                                                                                                                    Certain Liabilities
                                                                                                                                                                    and Related
                                                                                                                                                                    Data.)
             Case 14-42385              Doc 1        Filed 11/06/14 Entered 11/06/14 15:54:29                              Desc Main
                                                      Document Page 17 of 72
B6E (Official Form 6E) (04/13)

In re Jennifer M. Birdwell                                                                        Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       2                     sheets attached
             Case 14-42385              Doc 1                                    Filed 11/06/14 Entered 11/06/14 15:54:29                         Desc Main
                                                                                  Document Page 18 of 72
B6E (Official Form 6E) (04/13) - Cont.
In re Jennifer M. Birdwell                                                                                                Case No.
                                                                                                                                                  (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   2011
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Taxes                                                $7,181.71       $7,181.71        $0.00
P.O. Box 7346                                                                    REMARKS:
Philadelphia, PA 19114                                           -               2011




Sheet no. __________
               1       of __________
                               2       continuation sheets                                  Subtotals (Totals of this page) >         $7,181.71       $7,181.71        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
             Case 14-42385              Doc 1                                    Filed 11/06/14 Entered 11/06/14 15:54:29                         Desc Main
                                                                                  Document Page 19 of 72
B6E (Official Form 6E) (04/13) - Cont.
In re Jennifer M. Birdwell                                                                                                Case No.
                                                                                                                                                  (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Administrative allowances




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                           AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                              OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                     CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                  PRIORITY, IF
           (See instructions above.)                                                                                                                              ANY


ACCT #:                                                                          DATE INCURRED:   09/22/2014
                                                                                 CONSIDERATION:
Pelley Law Offices                                                               Attorney Fees                                        $2,000.00       $2,000.00        $0.00
905 N. Travis                                                                    REMARKS:
Sherman, TX 75090                                                -




Sheet no. __________
               2       of __________
                               2       continuation sheets                                  Subtotals (Totals of this page) >         $2,000.00       $2,000.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                       $9,181.71
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                    $9,181.71        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
            Case 14-42385           Doc 1      Filed 11/06/14 Entered 11/06/14 15:54:29                                          Desc Main
                                                Document Page 20 of 72
B6F (Official Form 6F) (12/07)
  In re Jennifer M. Birdwell                                                                                    Case No.
                                                                                                                           (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                 UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                CLAIM




                                                                                                                                  CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                   DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Advanced Call Center Technologies, LLC                                                Notice Only                                                 Notice Only
P.O. Box 9091                                                                         REMARKS:
                                                                  -
Gray, TN 37615-9091



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Allied Interstate                                                                     Notice Only                                                       $0.00
3111 S Dixie Hwy, Suite 101                                                           REMARKS:
                                                                  -
West Palm Beach, FL 33405



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
American Express                                                                      Unsecured Consumer Debt                                       $1,250.56
P.O. Box 650448                                                                       REMARKS:
                                                                  -
Dallas, TX 75265-0448



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
American Medical Response                                                             Medical                                                        $730.42
P.O. Box 847925                                                                       REMARKS:
                                                                  -
Dallas, TX 75284-7925



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
April Sound Country Club                                                              Unsecured Consumer Debt                                        $921.31
1000 April Sound Blvd.                                                                REMARKS:
                                                                  -
Montgomery, TX 77356



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
April Sound POA                                                                       Unsecured Consumer Debt                                        $660.00
100 April Park Drive                                                                  REMARKS:
                                                                  -
Montgomery, TX 77356



                                                                                                                             Subtotal >              $3,562.29

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       15                    sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 21 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
ARS National Service, Inc.                                                                Notice Only                                                       $0.00
PO Box 463023                                                                             REMARKS:
                                                                      -
Escondido, CA 92046-3023



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Bank of America                                                                           Unsecured Consumer Debt                                      $20,299.87
P.O. Box 851001                                                                           REMARKS:
                                                                      -
Dallas, TX 75285-1001



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Belk                                                                                      Unsecured Consumer Debt                                        $230.00
P.O. Box 530940                                                                           REMARKS:
                                                                      -
Atlanta, GA 30353-0940



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Emergency Services                                                                 Medical                                                       $1,758.00
P.O. Box 975213                                                                           REMARKS:
                                                                      -
Dallas, TX 75397-5213



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Memorial Emergency Physicians                                                      Medical                                                        $414.00
P.O. Box 555                                                                              REMARKS:
                                                                      -
Biloxi, MS 39533-0555



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Memorial Emergency Physicians                                                      Medical                                                       $1,389.00
P.O. Box 2080                                                                             REMARKS:
                                                                      -
Kilmarnock, VA 22482



Sheet no. __________
              1        of __________
                              15     continuation sheets attached to                                                             Subtotal >             $24,090.87
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                          Desc Main
                                                   Document Page 22 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                       Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Memorial Emergency Physicians                                                      Medical                                                     $1,023.00
P.O. Box 555                                                                              REMARKS:
                                                                      -
Biloxi, MS 39533-0555



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Memorial Emergency Services                                                        Medical                                                     $1,389.00
P.O. Box 2080                                                                             REMARKS:
                                                                      -
Kilmarnock, VA 22482



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Regional Medical Center                                                            Medical                                                     $7,992.81
P.O. Box 281436                                                                           REMARKS:
                                                                      -
Atlanta, GA 30384-1436



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Regional Medical Center                                                            Medical                                                     $6,808.81
150 Reynoir St.                                                                           REMARKS:
                                                                      -
Biloxi, MS 39530



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Regional Medical Center                                                            Medical                                                     $2,070.43
150 Reynoir St.                                                                           REMARKS:
                                                                      -
Biloxi, MS 39530



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Biloxi Regional Medical Physician                                                         Medical                                                       $396.96
c/o Physicians Business Office                                                            REMARKS:
                                                                      -
P.O. Box 708878
Sandy, UT 84070

Sheet no. __________
              2        of __________
                              15     continuation sheets attached to                                                            Subtotal >            $19,681.01
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 23 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Casey Green, MD                                                                           Medical                                                        $368.16
777 SW Frwy., Ste. 900                                                                    REMARKS:
                                                                      -
Houston, TX 77074



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Chase Checking                                                                            Unsecured Consumer Debt                                        $933.74
P.O. Box 659754                                                                           REMARKS:
                                                                      -
San Antonio, TX 78265-9754



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Chase Visa                                                                                Unsecured Consumer Debt                                       $5,793.21
P.O. Box 15123                                                                            REMARKS:
                                                                      -
Wilmington, DE 19850-5123



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Chase Visa                                                                                Unsecured Consumer Debt                                      $24,243.70
P.O. Box 15123                                                                            REMARKS:
                                                                      -
Wilmington, DE 19850-5123



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
City of Dallas EM Services                                                                Medical                                                       $1,012.99
P.O. Box 843835                                                                           REMARKS:
                                                                      -
Dallas, TX 75284-3835



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Computer Credit, Inc.                                                                     Notice Only                                                 Notice Only
640 West Fourth St.                                                                       REMARKS:
                                                                      -
P.O. Box 5238
Winston-Salem, NC 27113-5238

Sheet no. __________
              3        of __________
                              15     continuation sheets attached to                                                             Subtotal >             $32,351.80
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 24 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Conroe Regional Medical Center                                                            Medical                                                         $13.77
P.O. Box 99587                                                                            REMARKS:
                                                                      -
Louisville, KY 40269



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Conroe Regional Medical Center                                                            Medical                                                        $505.20
P.O. Box 99587                                                                            REMARKS:
                                                                      -
Louisville, KY 40269



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Credit Systems International                                                              Medical                                                        $666.84
P.O. Box 1088                                                                             REMARKS:
                                                                      -
Arlington, TX 76004



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Dallas Medical City Emergency Room                                                        Medical                                                      $2,946.00
c/o Paramount Recovery Services                                                           REMARKS:
                                                                      -
P.O. Box 788
Lorena, TX 76655

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Dallas Medical City Hospital                                                              Medical                                                      $6,628.82
P.O. Box 99587                                                                            REMARKS:
                                                                      -
Louisville, KY 40269



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Dallas Medical City Hospital                                                              Unsecured Consumer Debt                                      $1,173.90
P.O. Box 99587                                                                            REMARKS:
                                                                      -
Louisville, KY 40269



Sheet no. __________
              4        of __________
                              15     continuation sheets attached to                                                             Subtotal >            $11,934.53
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 25 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Dallas Medical City Hospital                                                              Medical                                                       $1,322.32
P.O. Box 99587                                                                            REMARKS:
                                                                      -
Louisville, KY 40269



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Discover                                                                                  Unsecured Consumer Debt                                      $20,178.38
P.O. Box 6105                                                                             REMARKS:
                                                                      -
Carol Stream, IL 60197-6105



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Emergency Psychiatric Medicine, PLLC                                                      Medical                                                          $54.75
3 Maryland Farms, Ste. 250                                                                REMARKS:
                                                                      -
Brentwood, TN 37027-5053



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Emergency Services - TX Health Plano                                                      Medical                                                        $947.00
c/o United Revenue                                                                        REMARKS:
                                                                      -
204 Billings, Ste. 120
Arlington, TX 76010

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Emergency Services - TX Health Plano                                                      Medical                                                        $216.76
c/o United Revenue                                                                        REMARKS:
                                                                      -
204 Billings, Ste. 120
Arlington, TX 76010

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Emergency Services - TX Health Plano                                                      Medical                                                       $3,057.00
c/o United Revenue                                                                        REMARKS:
                                                                      -
204 Billings, Ste. 120
Arlington, TX 76010

Sheet no. __________
              5        of __________
                              15     continuation sheets attached to                                                             Subtotal >             $25,776.21
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 26 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Emergency Services - TX Health Plano                                                      Medical                                                       $1,894.00
c/o United Revenue                                                                        REMARKS:
                                                                      -
204 Billings, Ste. 120
Arlington, TX 76010

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Express                                                                                   Unsecured Consumer Debt                                       $1,716.98
c/o Comenity Bank                                                                         REMARKS:
                                                                      -
P.O. Box 659728
San Antonio, TX 78265

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
FIA Card Services                                                                         Notice Only                                                 Notice Only
Professional Card Services                                                                REMARKS:
                                                                      -
221 Laurel Rd., Ste. 350
Boorhees, NJ 08043

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Financial Corporation of America                                                          Notice Only                                                 Notice Only
P.O. Box 203500                                                                           REMARKS:
                                                                      -
Austin, TX 78720



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
GAP Visa                                                                                  Unsecured Consumer Debt                                       $5,217.00
GE Capital Retail Bank                                                                    REMARKS:
                                                                      -
P.O. Box 960017
Orlando, FL 32896-0017

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Greater Houston Emergency Room                                                            Medical                                                        $505.00
c/o Amsher Collection Services, Inc.                                                      REMARKS:
                                                                      -
600 Beacon Pkwy. W, Ste. 300
Birmingham, AL 35209-3114

Sheet no. __________
              6        of __________
                              15     continuation sheets attached to                                                             Subtotal >              $9,332.98
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                          Desc Main
                                                   Document Page 27 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                       Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Greater Houston Physicians Medical                                                        Medical                                                       $215.09
9201 Pinecroft Drive, Ste. 270                                                            REMARKS:
                                                                      -
Shenandoah, TX 77380-3222



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Green Oaks Hospital                                                                       Medical                                                       $322.55
P.O. Box 99587                                                                            REMARKS:
                                                                      -
Louisville, TX 40269



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Guardian EMS                                                                              Medical                                                      $1,388.97
P.O. Box 1119                                                                             REMARKS:
                                                                      -
Columbus, TX 78934-1119



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Gulfport Memorial Hospital                                                                Medical                                                     $15,861.20
c/o Healthcare Financial Assistance, Inc                                                  REMARKS:
                                                                      -
Dept. 849
P.O. Box 4115
Concord, CA 94524
ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Gulfport Memorial Hospital                                                                Medical                                                       $861.09
P.O. Box 1810                                                                             REMARKS:
                                                                      -
Gulfport, MS 39502



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Gulfport Memorial Hospital                                                                Medical                                                      $5,089.40
P.O. Box 1810                                                                             REMARKS:
                                                                      -
Gulfport, MS 39502



Sheet no. __________
              7        of __________
                              15     continuation sheets attached to                                                            Subtotal >             $23,738.30
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 28 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Gulfport Memorial Hospital                                                                Medical                                                        $861.09
P.O. Box 1810                                                                             REMARKS:
                                                                      -
Gulfport, MS 39502



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Harris County Toll Road Authority                                                         Unsecured Consumer Debt                                          $80.25
Dept. 1                                                                                   REMARKS:
                                                                      -
P.O. Box 4440
Houston, TX 77210-4440

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Integral Recoveries                                                                       Medical                                                        $410.15
P.O. Box 1388                                                                             REMARKS:
                                                                      -
Englewood, CO 80150



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Linebarger Goggan Blair & Sampson, LLP                                                    Notice Only                                                       $0.00
2323 Bryan St., Ste. 1600                                                                 REMARKS:
                                                                      -
Dallas, TX 75201



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
LTD Financial                                                                             Notice Only                                                       $0.00
7322 Southwest Freeway Ste. 1600                                                          REMARKS:
                                                                      -
Houston, TX 77074



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
LTD Financial Services                                                                    Notice Only                                                 Notice Only
7322 Southwest Frwy., Ste. 1600                                                           REMARKS:
                                                                      -
Houston, TX 77074-2053



Sheet no. __________
              8        of __________
                              15     continuation sheets attached to                                                             Subtotal >              $1,351.49
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 29 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Macys                                                                                     Unsecured Consumer Debt                                         $88.76
P.O. Box 689195                                                                           REMARKS:
                                                                      -
Des Moines, IA 50368-9195



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
MCD Pathology, LLP                                                                        Medical                                                        $296.61
c/o Specialized Collection Systems                                                        REMARKS:
                                                                      -
P.O. Box 441508
Houston, TX 77244-1508

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
MCD Pathology, LLP                                                                        Medical                                                        $246.61
c/o Specialized Collection Systems                                                        REMARKS:
                                                                      -
P.O. Box 441508
Houston, TX 77244-1508

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
McKean Radiology, PLLC                                                                    Medical                                                         $32.00
10567 Sawmill Pkwy., Ste. 100                                                             REMARKS:
                                                                      -
Powell, OH 43065-6671



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
MD Pathology                                                                              Medical                                                         $15.00
P.O. Box 671002                                                                           REMARKS:
                                                                      -
Dallas, TX 75267-1002



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
MD Pathology                                                                              Medical                                                         $25.00
P.O. Box 671002                                                                           REMARKS:
                                                                      -
Dallas, TX 75267-1002



Sheet no. __________
              9        of __________
                              15     continuation sheets attached to                                                             Subtotal >              $703.98
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                          Desc Main
                                                   Document Page 30 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                       Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
MD Pathology                                                                              Medical                                                         $85.00
P.O. Box 671002                                                                           REMARKS:
                                                                      -
Dallas, TX 75267-1002



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
MD Pathology                                                                              Medical                                                         $38.40
P.O. Box 671002                                                                           REMARKS:
                                                                      -
Dallas, TX 75267-1002



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Mobile Medical Ambulance                                                                  Medical                                                      $1,290.71
American Medical Response South                                                           REMARKS:
                                                                      -
530 S. Main Street, Ste. 1041
Akron, OH 44311

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Montgomery County Hospital District                                                       Medical                                                      $1,314.02
P.O. Box 2587                                                                             REMARKS:
                                                                      -
Conroe, TX 77305-2587



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Montgomery County Hospital District                                                       Medical                                                      $2,734.01
P.O. Box 2587                                                                             REMARKS:
                                                                      -
Conroe, TX 77305-2587



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Napa Solutions, LLC                                                                       Notice Only                                                Notice Only
P.O. Box 33188                                                                            REMARKS:
                                                                      -
Louisville, KY 40232



Sheet no. __________
              10       of __________
                              15     continuation sheets attached to                                                            Subtotal >              $5,462.14
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 31 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
North Texas Tollway Authority                                                             Unsecured Consumer Debt                                         $74.86
c/o Southwest Credit                                                                      REMARKS:
                                                                      -
4120 International Pkwy., Ste. 1100
Carrollton, TX 75007-1958

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Patient Account Services                                                                  Notice Only                                                 Notice Only
P.O. Box 538466                                                                           REMARKS:
                                                                      -
Atlanta, GA 30353



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Planet Beach                                                                              Unsecured Consumer Debt                                        $177.00
c/o Kross, Lieberman & Stone, Inc.                                                        REMARKS:
                                                                      -
P.O. Box 565
Morrisville, NC 27560

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Professional Pathology Associates                                                         Medical                                                        $182.00
P.O. Box 1936                                                                             REMARKS:
                                                                      -
Biloxi, MS 39533-1936



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Professional Pathology Associates                                                         Medical                                                        $382.00
P.O. Box 1936                                                                             REMARKS:
                                                                      -
Biloxi, MS 39533-1936



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Professional Pathology Associates                                                         Medical                                                         $75.00
P.O. Box 1936                                                                             REMARKS:
                                                                      -
Biloxi, MS 39533-1936



Sheet no. __________
              11       of __________
                              15     continuation sheets attached to                                                             Subtotal >               $890.86
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                           Desc Main
                                                   Document Page 32 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                        Case No.
                                                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                             AMOUNT OF




                                                                                                                                     UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                CLAIM




                                                                                                                                      CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                       DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Radiology Consultants                                                                     Medical                                                        $119.00
c/o RS Clark and Associates, Inc.                                                         REMARKS:
                                                                      -
P.O. Box 38062
Dallas, TX 75238-0062

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Robert W. Benigor, MD                                                                     Medical                                                        $500.00
1755 Collins Blvd., Ste. 525                                                              REMARKS:
                                                                      -
Richardson, TX 75080-3613



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
RS Clark and Associates, Inc.                                                             Notice Only                                                 Notice Only
P.O. Box 38062                                                                            REMARKS:
                                                                      -
Dallas, TX 75238-0062



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Speedy Collision RC, LLC                                                                  Unsecured Consumer Debt                                       $4,152.25
900 E. Parker Rd.                                                                         REMARKS:
                                                                      -
Plano, TX 75074



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
St. Lukes The Woodlands Hospital                                                          Medical                                                        $446.40
PFS Group                                                                                 REMARKS:
                                                                      -
P.O. Box 4483
Houston, TX 77210-4483

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Physicians Group                                                             Medical                                                        $666.84
P.O. Box 732262                                                                           REMARKS:
                                                                      -
Dallas, TX 75373-2262



Sheet no. __________
              12       of __________
                              15     continuation sheets attached to                                                             Subtotal >              $5,884.49
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                          Desc Main
                                                   Document Page 33 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                       Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Plano                                                                        Medical                                                       $862.40
6200 West Parker Rd.                                                                      REMARKS:
                                                                      -
Plano, TX 75093



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Presbyterian Plano                                                           Medical                                                     $2,790.25
P.O. Box 910812                                                                           REMARKS:
                                                                      -
Dallas, TX 75391-0812



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Presbyterian Plano                                                           Medical                                                     $2,342.00
P.O. Box 910156                                                                           REMARKS:
                                                                      -
Dallas, TX 75391-0156



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Presbyterian Plano                                                           Medical                                                     $1,003.59
P.O. Box 910812                                                                           REMARKS:
                                                                      -
Dallas, TX 75391-0812



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Presbyterian Plano                                                           Medical                                                     $6,689.34
P.O. Box 910812                                                                           REMARKS:
                                                                      -
Dallas, TX 75391-0812



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Presbyterian Plano                                                           Medical                                                     $1,171.00
P.O. Box 910812                                                                           REMARKS:
                                                                      -
Dallas, TX 75391-0812



Sheet no. __________
              13       of __________
                              15     continuation sheets attached to                                                            Subtotal >            $14,858.58
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                          Desc Main
                                                   Document Page 34 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                       Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Health Resources                                                                    Medical                                                      $1,568.00
Texas Health Presbyterian Plano                                                           REMARKS:
                                                                      -
500 E. Border Street, #130
Arlington, TX 76010

ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Texas Radiology                                                                           Medical                                                         $35.00
P.O. Box 2285                                                                             REMARKS:
                                                                      -
Indianapolis, IN 46206



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
U.S. Department of Education                                                              Student Loan                                                $72,614.35
P.O. Box 530260                                                                           REMARKS:
                                                                      -
Atlanta, GA 30353-0260                                                                    Nondischargeable



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
United Collection Bureau                                                                  Medical                                                       $856.00
P.O. Box 140190                                                                           REMARKS:
                                                                      -
Toledo, OH 43614



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
United Collection Bureau Inc                                                              Notice Only                                                      $0.00
5620 Southwyck Blvd.                                                                      REMARKS:
                                                                      -
Toledo, OH 43614



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Veldos, LLC                                                                               Notice Only                                                Notice Only
500 N. Franklin Turnpike, Ste. 200                                                        REMARKS:
                                                                      -
Ramsey, NJ 07446



Sheet no. __________
              14       of __________
                              15     continuation sheets attached to                                                            Subtotal >             $75,073.35
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                                          Desc Main
                                                   Document Page 35 of 72
B6F (Official Form 6F) (12/07) - Cont.
  In re Jennifer M. Birdwell                                                                                       Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
West Asset Management                                                                     Notice Only                                                      $0.00
2703 N US Highway 75                                                                      REMARKS:
                                                                      -
Sherman, TX 75090-2567




Sheet no. __________
              15       of __________
                              15     continuation sheets attached to                                                            Subtotal >                  $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                   $254,692.88
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
             Case 14-42385          Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                      Desc Main
                                                 Document Page 36 of 72
B6G (Official Form 6G) (12/07)
   In re Jennifer M. Birdwell                                                           Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
              Case 14-42385              Doc 1        Filed 11/06/14 Entered 11/06/14 15:54:29                              Desc Main
                                                       Document Page 37 of 72
B6H (Official Form 6H) (12/07)
In re Jennifer M. Birdwell                                                                         Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
            Case 14-42385               Doc 1        Filed 11/06/14 Entered 11/06/14 15:54:29                                  Desc Main
                                                      Document Page 38 of 72
 Fill in this information to identify your case:
     Debtor 1              Jennifer             M.                     Birdwell
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2                                                                                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   EASTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Independent Business Analyst
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Encore Payment

      Occupation may include            Employer's address     3801 Arapaho
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Addison                      TX      75001
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        1 1/2 years


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                     $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.                  $0.00




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
            Case 14-42385                         Doc 1             Filed 11/06/14 Entered 11/06/14 15:54:29                                                   Desc Main
                                                                     Document Page 39 of 72
Debtor 1 Jennifer                               M.                                 Birdwell                                           Case number (if known)
            First Name                          Middle Name                        Last Name


                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00
     5e. Insurance                                                                                              5e.                  $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00
     5g. Union dues                                                                                             5g.                  $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00
6.   Add the payroll deductions.                   Add lines 5a + 5b + 5c + 5d + 5e + 5f +                      6.                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.           $3,800.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                              8d.                  $0.00
     8e. Social Security                                                                                        8e.                  $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.            $3,800.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.           $3,800.00           +                       =       $3,800.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.             $3,800.00
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                              Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                  Schedule I: Your Income                                                                            page 2
           Case 14-42385             Doc 1        Filed 11/06/14 Entered 11/06/14 15:54:29            Desc Main
                                                   Document Page 40 of 72
Debtor 1 Jennifer                   M.                  Birdwell                  Case number (if known)
           First Name               Middle Name         Last Name


8a. Attached Statement (Debtor 1)




Gross Monthly Income:                                                                                             $4,000.00

Expense                                                    Category                              Amount
Gasoline                                                                                        $200.00
Total Monthly Expenses                                                                                             $200.00

Net Monthly Income:                                                                                               $3,800.00




Official Form B 6I                                      Schedule I: Your Income                                      page 3
            Case 14-42385               Doc 1        Filed 11/06/14 Entered 11/06/14 15:54:29                                 Desc Main
                                                      Document Page 41 of 72
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Jennifer               M.                     Birdwell                            An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son                                 19
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,013.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $100.00

      4d. Homeowner's association or condominium dues                                                                4d.                      $55.00



 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
            Case 14-42385             Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                    Desc Main
                                                   Document Page 42 of 72
Debtor 1 Jennifer                   M.                      Birdwell                    Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.                     $60.00
6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $130.00
     6b. Water, sewer, garbage collection                                                            6b.                    $45.00
     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                    $90.00
         cable services
     6d. Other. Specify:                                                                             6d.

7.   Food and housekeeping supplies                                                                  7.                    $250.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                    $100.00
10. Personal care products and services                                                              10.                    $40.00
11. Medical and dental expenses                                                                      11.                    $60.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $150.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                   $100.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.                    $40.00
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.

     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.                  $107.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: Escrow                                                                                  16.                   $500.00
17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify:                                                                         17c.

     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.


 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2
           Case 14-42385            Doc 1       Filed 11/06/14 Entered 11/06/14 15:54:29                            Desc Main
                                                 Document Page 43 of 72
Debtor 1 Jennifer                 M.                       Birdwell                           Case number (if known)
           First Name             Middle Name              Last Name


21. Other. Specify:                                                                                          21.    +
22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.                $2,840.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.               $3,800.00
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –           $2,840.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                $960.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                                 page 3
            Case 14-42385             Doc 1         Filed 11/06/14 Entered 11/06/14 15:54:29              Desc Main
                                                     Document Page 44 of 72
B 6 Summary (Official Form 6 - Summary) (12/13)
                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                     SHERMAN DIVISION
   In re Jennifer M. Birdwell                                                        Case No.

                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $125,000.00


 B - Personal Property                            Yes      5                 $29,666.00


 C - Property Claimed                             Yes      3
     as Exempt
 D - Creditors Holding                            Yes      1                                        $150,120.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      3                                           $9,181.71
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      16                                       $254,692.88
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      3                                                                 $3,800.00
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      3                                                                 $2,840.00
    Individual Debtor(s)

                                             TOTAL         37               $154,666.00             $413,994.59
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B 6 Summary (Official Form 6 - Summary) (12/13)
                                             UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF TEXAS
                                                     SHERMAN DIVISION
   In re Jennifer M. Birdwell                                                         Case No.

                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                      $7,181.71
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                  $72,614.35

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL            $79,796.06

State the following:
 Average Income (from Schedule I, Line 12)                                     $3,800.00

 Average Expenses (from Schedule J, Line 22)                                   $2,840.00

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                  $175.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                              $5,000.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                       $9,181.71

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                          $254,692.88

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                      $259,692.88
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B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Jennifer M. Birdwell                                                             Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 39
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 11/6/2014                                               Signature    /s/ Jennifer M. Birdwell
                                                                         Jennifer M. Birdwell

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
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                                                         SHERMAN DIVISION
   In re:   Jennifer M. Birdwell                                                                     Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $3,300.00                   2014 - Employment

        $19,416.00                  2013 - Employment

        $70,820.00                  2012 - Employment

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $0.00                       2014

        $861.00                     2013 - Dividends

        $8,958.00                   2013 - Pension

        $11,440.00                  2013 - Unemployment

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                        SHERMAN DIVISION
   In re:   Jennifer M. Birdwell                                                                  Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

                                                                        DATE OF REPOSSESSION,
                                                                        FORECLOSURE SALE,                DESCRIPTION AND VALUE
        NAME AND ADDRESS OF CREDITOR OR SELLER                          TRANSFER OR RETURN               OF PROPERTY
        At Federal Credit Union                                         11/6/2014                        2006 BMW
        6420 US Hwy. 290 E
        P.O. Box 14867
        Austin, TX 78757

       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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   In re:   Jennifer M. Birdwell                                                                   Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Pelley Law Offices                                            09/22/2014                       $4,000.00; $2,000.00 paid prior
        905 N. Travis                                                                                  to filing; $2,000.00 paid
        Sherman, TX 75090                                                                              through the plan.

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
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   In re:   Jennifer M. Birdwell                                                                    Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.

        ADDRESS                                                        NAME USED                                         DATES OF OCCUPANCY
        44 April Hill, Montgomery, TX 77356                            Jennifer Birdwell                                 Sept. 2011 -
                                                                                                                         Oct. 2013

       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
        NAME
        Jerry Birdwell (divorced 2009)

       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.
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                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
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   In re:   Jennifer M. Birdwell                                                                      Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 5



       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 11/6/2014                                                          Signature           /s/ Jennifer M. Birdwell
                                                                        of Debtor           Jennifer M. Birdwell

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
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                                                   SHERMAN DIVISION
IN RE:     Jennifer M. Birdwell                                                          CASE NO

                                                                                        CHAPTER       13

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                  $4,000.00
     Prior to the filing of this statement I have received:                                        $2,000.00
     Balance Due:                                                                                  $2,000.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       11/6/2014                              /s/ Richard A. Pelley
                         Date                                 Richard A. Pelley                          Bar No. 15732500
                                                              Pelley Law Offices
                                                              905 N. Travis
                                                              Sherman, TX 75090
                                                              Phone: (903) 813-4778 / Fax: (903) 813-0586




      /s/ Jennifer M. Birdwell
     Jennifer M. Birdwell
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                                             SHERMAN DIVISION
  IN RE:   Jennifer M. Birdwell                                               CASE NO

                                                                              CHAPTER      13




Date 11/6/2014                                     Signature    /s/ Jennifer M. Birdwell
                                                               Jennifer M. Birdwell



Date                                               Signature
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                        Advanced Call Center Technologies, LLC
                        P.O. Box 9091
                        Gray, TN 37615-9091



                        Allied Interstate
                        3111 S Dixie Hwy, Suite 101
                        West Palm Beach, FL 33405



                        American Express
                        P.O. Box 650448
                        Dallas, TX 75265-0448



                        American Medical Response
                        P.O. Box 847925
                        Dallas, TX 75284-7925



                        April Sound Country Club
                        1000 April Sound Blvd.
                        Montgomery, TX 77356



                        April Sound HOA
                        71 April Hill
                        Montgomery, TX 77356



                        April Sound POA
                        100 April Park Drive
                        Montgomery, TX 77356



                        ARS National Service, Inc.
                        PO Box 463023
                        Escondido, CA 92046-3023



                        At Federal Credit Union
                        6420 US Hwy. 290 E
                        P.O. Box 14867
                        Austin, TX 78757
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                        Attorney General of Texas
                        Collection Div.- Bankruptcy
                        Box 12548, Capitol Station
                        Austin , TX 78711


                        Bank of America
                        P.O. Box 650070
                        Dallas, TX 75265-0070



                        Bank of America
                        P.O. Box 851001
                        Dallas, TX 75285-1001



                        Belk
                        P.O. Box 530940
                        Atlanta, GA 30353-0940



                        Biloxi Emergency Services
                        P.O. Box 975213
                        Dallas, TX 75397-5213



                        Biloxi Memorial Emergency Physicians
                        P.O. Box 555
                        Biloxi, MS 39533-0555



                        Biloxi Memorial Emergency Physicians
                        P.O. Box 2080
                        Kilmarnock, VA 22482



                        Biloxi Memorial Emergency Services
                        P.O. Box 2080
                        Kilmarnock, VA 22482



                        Biloxi Regional Medical Center
                        P.O. Box 281436
                        Atlanta, GA 30384-1436
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                        Biloxi Regional Medical Center
                        150 Reynoir St.
                        Biloxi, MS 39530



                        Biloxi Regional Medical Physician
                        c/o Physicians Business Office
                        P.O. Box 708878
                        Sandy, UT 84070


                        Casey Green, MD
                        777 SW Frwy., Ste. 900
                        Houston, TX 77074



                        Chase Checking
                        P.O. Box 659754
                        San Antonio, TX 78265-9754



                        Chase Visa
                        P.O. Box 15123
                        Wilmington, DE 19850-5123



                        City of Dallas EM Services
                        P.O. Box 843835
                        Dallas, TX 75284-3835



                        Computer Credit, Inc.
                        640 West Fourth St.
                        P.O. Box 5238
                        Winston-Salem, NC 27113-5238


                        Conroe Regional Medical Center
                        P.O. Box 99587
                        Louisville, KY 40269



                        Credit Systems International
                        P.O. Box 1088
                        Arlington, TX 76004
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                        Dallas Medical City Emergency Room
                        c/o Paramount Recovery Services
                        P.O. Box 788
                        Lorena, TX 76655


                        Dallas Medical City Hospital
                        P.O. Box 99587
                        Louisville, KY 40269



                        Discover
                        P.O. Box 6105
                        Carol Stream, IL 60197-6105



                        Emergency Psychiatric Medicine, PLLC
                        3 Maryland Farms, Ste. 250
                        Brentwood, TN 37027-5053



                        Emergency Services - TX Health Plano
                        c/o United Revenue
                        204 Billings, Ste. 120
                        Arlington, TX 76010


                        Express
                        c/o Comenity Bank
                        P.O. Box 659728
                        San Antonio, TX 78265


                        FIA Card Services
                        Professional Card Services
                        221 Laurel Rd., Ste. 350
                        Boorhees, NJ 08043


                        Financial Corporation of America
                        P.O. Box 203500
                        Austin, TX 78720



                        FmHA
                        101 S. Main St., Suite 102
                        Temple, TX 76501
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                        GAP Visa
                        GE Capital Retail Bank
                        P.O. Box 960017
                        Orlando, FL 32896-0017


                        Greater Houston Emergency Room
                        c/o Amsher Collection Services, Inc.
                        600 Beacon Pkwy. W, Ste. 300
                        Birmingham, AL 35209-3114


                        Greater Houston Physicians Medical
                        9201 Pinecroft Drive, Ste. 270
                        Shenandoah, TX 77380-3222



                        Green Oaks Hospital
                        P.O. Box 99587
                        Louisville, TX 40269



                        Guardian EMS
                        P.O. Box 1119
                        Columbus, TX 78934-1119



                        Gulfport Memorial Hospital
                        c/o Healthcare Financial Assistance, Inc
                        Dept. 849
                        P.O. Box 4115
                        Concord, CA 94524

                        Gulfport Memorial Hospital
                        P.O. Box 1810
                        Gulfport, MS 39502



                        Harris County Toll Road Authority
                        Dept. 1
                        P.O. Box 4440
                        Houston, TX 77210-4440


                        Integral Recoveries
                        P.O. Box 1388
                        Englewood, CO 80150
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                        Internal Revenue Service
                        P.O. Box 7346
                        Philadelphia, PA 19114



                        Internal Revenue Service
                        P.O. Box 7346
                        Philadelphia, PA 19101-7346



                        Janna Countryman
                        500 N. Central Expressway
                        Suite 350
                        Plano, TX 75074


                        Linebarger Goggan Blair & Sampson, LLP
                        2323 Bryan St., Ste. 1600
                        Dallas, TX 75201



                        LTD Financial
                        7322 Southwest Freeway Ste. 1600
                        Houston, TX 77074



                        LTD Financial Services
                        7322 Southwest Frwy., Ste. 1600
                        Houston, TX 77074-2053



                        Macys
                        P.O. Box 689195
                        Des Moines, IA 50368-9195



                        MCD Pathology, LLP
                        c/o Specialized Collection Systems
                        P.O. Box 441508
                        Houston, TX 77244-1508


                        McKean Radiology, PLLC
                        10567 Sawmill Pkwy., Ste. 100
                        Powell, OH 43065-6671
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                        MD Pathology
                        P.O. Box 671002
                        Dallas, TX 75267-1002



                        Mobile Medical Ambulance
                        American Medical Response South
                        530 S. Main Street, Ste. 1041
                        Akron, OH 44311


                        Montgomery County Hospital District
                        P.O. Box 2587
                        Conroe, TX 77305-2587



                        Napa Solutions, LLC
                        P.O. Box 33188
                        Louisville, KY 40232



                        North Texas Tollway Authority
                        c/o Southwest Credit
                        4120 International Pkwy., Ste. 1100
                        Carrollton, TX 75007-1958


                        Office of Attorney General
                        Child SupportDivision
                        1600 Pacific, #700
                        Dallas, TX 75021


                        Patient Account Services
                        P.O. Box 538466
                        Atlanta, GA 30353



                        Pelley Law Offices
                        905 N. Travis
                        Sherman, TX 75090



                        Planet Beach
                        c/o Kross, Lieberman & Stone, Inc.
                        P.O. Box 565
                        Morrisville, NC 27560
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                        Professional Pathology Associates
                        P.O. Box 1936
                        Biloxi, MS 39533-1936



                        Radiology Consultants
                        c/o RS Clark and Associates, Inc.
                        P.O. Box 38062
                        Dallas, TX 75238-0062


                        Robert W. Benigor, MD
                        1755 Collins Blvd., Ste. 525
                        Richardson, TX 75080-3613



                        RS Clark and Associates, Inc.
                        P.O. Box 38062
                        Dallas, TX 75238-0062



                        Speedy Collision RC, LLC
                        900 E. Parker Rd.
                        Plano, TX 75074



                        St. Lukes The Woodlands Hospital
                        PFS Group
                        P.O. Box 4483
                        Houston, TX 77210-4483


                        State Comptroller
                        Capitol Station
                        Austin, TX 78711



                        Texas Employment Commission
                        T.E.C. Bldg., Tax Dept.
                        Austin, TX 78778



                        Texas Health Physicians Group
                        P.O. Box 732262
                        Dallas, TX 75373-2262
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                        Texas Health Plano
                        6200 West Parker Rd.
                        Plano, TX 75093



                        Texas Health Presbyterian Plano
                        P.O. Box 910812
                        Dallas, TX 75391-0812



                        Texas Health Presbyterian Plano
                        P.O. Box 910156
                        Dallas, TX 75391-0156



                        Texas Health Resources
                        Texas Health Presbyterian Plano
                        500 E. Border Street, #130
                        Arlington, TX 76010


                        Texas Radiology
                        P.O. Box 2285
                        Indianapolis, IN 46206



                        U.S. Attorney
                        700 Nations Bank Towe
                        110 N. College Ave.
                        Tyler, TX 75702


                        U.S. Attorney
                        Main & Justice Bldg.
                        10th & Pennsylvania NW
                        Washington, DC 20530


                        U.S. Attorney General
                        Dept. of Justice, Main Justice
                        10th and Constition NW
                        Washington, DC 20530


                        U.S. Department of Education
                        P.O. Box 530260
                        Atlanta, GA 30353-0260
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                        United Collection Bureau
                        P.O. Box 140190
                        Toledo, OH 43614



                        United Collection Bureau Inc
                        5620 Southwyck Blvd.
                        Toledo, OH 43614



                        Veldos, LLC
                        500 N. Franklin Turnpike, Ste. 200
                        Ramsey, NJ 07446



                        Veterans Administration
                        701 Clay Ave.
                        Waco, TX 76706-1151



                        West Asset Management
                        2703 N US Highway 75
                        Sherman, TX 75090-2567
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B 22C (Official Form 22C) (Chapter 13) (04/13)                      According to the calculations required by this statement:
In re: Jennifer M. Birdwell                                             The applicable commitment period is 3 years.
                                                                        The applicable commitment period is 5 years.
Case Number:                                                            Disposable income is determined under § 1325(b)(3).
                                                                        Disposable income is not determined under § 1325(b)(3).
                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)
                    CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
              AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
In addition to Schedules I and J, this statement must be completed by every individual chapter 13 debtor, whether or not filing jointly.
Joint debtors may complete one statement only.

                                                    Part I. REPORT OF INCOME
       Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
       a.       Unmarried. Complete only Column A ("Debtor's Income") for Lines 2-10.
       b.       Married. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 2-10.
       All figures must reflect average monthly income received from all sources, derived
 1                                                                                                        Column A          Column B
       during the six calendar months prior to filing the bankruptcy case, ending on the last day
       of the month before the filing. If the amount of monthly income varied during the six               Debtor's         Spouse's
       months, you must divide the six-month total by six, and enter the result on the                      Income            Income
       appropriate line.
 2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                  $0.00
       Income from the operation of a business, profession, or farm. Subtract Line b from
       Line a and enter the difference in the appropriate column(s) of Line 3. If you operate more
       than one business, profession or farm, enter aggregate numbers and provide details on
 3     an attachment. Do not enter a number less than zero. Do not include any part of the
       business expenses entered on Line b as a deduction in Part IV.
         a.   Gross receipts                                            $375.00
         b.   Ordinary and necessary business expenses                  $200.00
         c. Business income                                       Subtract Line b from Line a                   $175.00
       Rent and other real property income. Subtract Line b from Line a and enter the
       difference in the appropriate column(s) of Line 4. Do not enter a number less than zero.
       Do not include any part of of the operating expenses entered on Line b as a deduction
 4     in Part IV.
         a.   Gross receipts                                              $0.00
         b.   Ordinary and necessary operating expenses                   $0.00
         c. Rent and other real property income                    Subtract Line b from Line a                     $0.00
 5     Interest, dividends, and royalties.                                                                         $0.00
 6     Pension and retirement income.                                                                              $0.00
       Any amounts paid by another person or entity, on a regular basis, for the household
       expenses of the debtor or the debtor's dependents, including child support paid for
 7     that purpose. Do not include alimony or separate maintenance payments or amounts
       paid by the debtor's spouse. Each regular payment should be reported in only one
       column; if a payment is listed in Column A, do not report that payment in Column B.                         $0.00
       Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
       However, if you contend that unemployment compensation received by you or your
 8     spouse was a benefit under the Social Security Act, do not list the amount of such
       compensation in Column A or B, but instead state the amount in the space below:

         Unemployment compensation claimed to be a                     Debtor            Spouse
         benefit under the Social Security Act                         $0.00                                       $0.00
       Income from all other sources. Specify source and amount. If necessary, list additional
       sources on a separate page. Total and enter on Line 9. Do not include alimony or
       separate maintenance payments paid by your spouse, but include all other payments
       of alimony or separate maintenance. Do not include any benefits received under the
       the Social Security Act or payments received as a victim of a war crime, crime against
 9
       humanity, or as a victim of international or domestic terrorism.

         a.
         b.
                                                                                                                   $0.00



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 10    Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2                     $175.00
       through 9 in Column B. Enter the total(s).
       Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B,
 11    and enter the total. If Column B has not been completed, enter the amount from Line 10,                            $175.00
       Column A.

                            Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
 12    Enter the amount from Line 11.                                                                                               $175.00
       Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
 13    calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
       spouse, enter on Line 13 the amount of income listed in Line 10, Column B that was NOT paid on a
       regular basis for the household expenses of you or your dependents and specify, in the lines below, the
       basis for excluding this income (such as payment of the spouse's tax liability or the spouse's support of
       persons other than the debtor or the debtor's dependents) and the amount of income devoted to each
       purpose. If necessary, list additional adjustments on a separate page. If the conditions for entering this
       adjustment do not apply, enter zero.

         a.
         b.
         c.
       Total and enter on Line 13.                                                                                                    $0.00
 14    Subtract Line 13 from Line 12 and enter the result.                                                                          $175.00
       Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12
 15                                                                                                                             $2,100.00
       and enter the result.
       Applicable median family income. Enter the median family income for applicable state and household
       size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
 16    court.)

       a. Enter debtor's state of residence:         Texas            b. Enter debtor's household size:            2           $57,121.00
       Application of § 1325(b)(4). Check the applicable box and proceed as directed.
              The amount on Line 15 is less than the amount on Line 16. Check the box for "The applicable commitment period is
 17           3 years" at the top of page 1 of this statement and continue with this statement.

              The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable commitment period
              is 5 years" at the top of page 1 of this statement and continue with this statement.

                Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
 18    Enter the amount from Line 11.                                                                                               $175.00

       Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
 19    of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household
       expenses of the debtor or the debtor's dependents. Specify in the lines below the basis for excluding the
       Column B income (such as payment of the spouse's tax liability or the spouse's support of persons other
       than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
       necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment
       do not apply, enter zero.

         a.
         b.
         c.
       Total and enter on Line 19.                                                                                                    $0.00




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 20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                          $175.00

 21    Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12
       and enter the result.                                                                                                $2,100.00
 22    Applicable median family income. Enter the amount from Line 16.                                                     $57,121.00
       Application of § 1325(b)(3). Check the applicable box and proceed as directed.
          The amount on Line 21 is more than the amount on Line 22. Check the box for "Disposable income is determined
 23       under § 1325(b)(3)" at the top of page 1 of this statement and complete the remaining parts of this statement.
            The amount on Line 21 is not more than the amount on Line 22. Check the box for "Disposable income is not
            determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement. DO NOT
            COMPLETE PARTS IV, V, OR VI.


                                Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                       Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
       National Standards: food, apparel and services, housekeeping supplies, personal care, and
       miscellaneous. Enter in Line 24A the "Total" amount from IRS National Standards for Allowable Living
 24A   Expenses for the applicable number or persons. (This information is available at www.usdoj.gov/ust/ or
       from the clerk of the bankruptcy court.) The applicable number of persons is the number that would
       currently be allowed as exemptions on your federal income tax return, plus the number of any additional
       dependents whom you support.
       National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
       Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
       for Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
       persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are
       65 years of age or older. (The applicable number of persons in each age category is the number in that
       category that would currently be allowed as exemptions on your federal income tax return, plus the number
       of any additional dependents whom you support.) Multiply Line a1 by Line b1 to obtain a total amount for
       persons under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for
 24B   persons 65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care
       amount, and enter the result in Line 24B.

         Persons under 65 years of age                             Persons 65 years of age or older

         a1.   Allowance per person                                a2.   Allowance per person
         b1.   Number of persons                                   b2.   Number of persons
         c1.   Subtotal                                            c2.   Subtotal
       Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing
       and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
 25A   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) The applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support.




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       Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
       IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
       information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable
       family size consists of the number that would currently be allowed as exemptions on your federal income
       tax return, plus the number of any additional dependents whom you support); enter on Line b the total of
 25B   the Average Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b
       from Line a and enter the result in Line 25B. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Housing and Utilities Standards; mortgage/rent expense
         b.   Average Monthly Payment for any debts secured by your home, if
              any, as stated in Line 47
         c.   Net mortgage/rental expense                                               Subtract Line b from Line a.
       Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
       and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
 26    Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
       for your contention in the space below:




       Local Standards: transportation; vehicle operation/public transportation expense.
       You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
       operating a vehicle and regardless of whether you use public transportation.
 27A   Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
       are included as a contribution to your household expenses in Line 7.       0      1       2 or more.
       If you checked 0, enter on Line 27A the "Public Transportation" amount from IRS Local Standards:
       Transportation. If you checked 1 or 2 or more, enter on Line 27A the "Operating Costs" amount from IRS
       Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
       Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk
       of the bankruptcy court.)

       Local Standards: transportation; additional public transportation expense.
       If you pay the operating expenses for a vehicle and also use public transportation, and you contend that
 27B   you are entitled to an additional deduction for your public transportation expenses, enter on Line 27B the
       "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is available at
       www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)




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       Local Standards: transportation ownership/lease expense; Vehicle 1.
       Check the number of vehicles for which you claim an ownership/lease expense. (You may not claim an
       ownership/lease expense for more than two vehicles.)            1       2 or more.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
 28    Line a and enter the result in Line 28. DO NOT ENTER AN AMOUNT LESS THAN ZERO.
         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 1, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 1                                 Subtract Line b from Line a.
       Local Standards: transportation ownership/lease expense; Vehicle 2.
       Complete this Line only if you checked the "2 or more" Box in Line 28.
       Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
       (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
       Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
 29    Line a and enter the result in Line 29. DO NOT ENTER AN AMOUNT LESS THAN ZERO.

         a.   IRS Transportation Standards, Ownership Costs
         b.   Average Monthly Payment for any debts secured by Vehicle 2, as
              stated in Line 47
         c.   Net ownership/lease expense for Vehicle 2                                 Subtract Line b from Line a.
       Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
       federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self-
 30    employment taxes, social-security taxes, and Medicare taxes. DO NOT INCLUDE REAL ESTATE OR
       SALES TAXES.
       Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
       deductions that are required for your employment, such as mandatory retirement contributions, union
 31    dues, and uniform costs. DO NOT INCLUDE DISCRETIONARY AMOUNTS, SUCH AS VOLUNTARY
       401(K) CONTRIBUTIONS.

       Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
 32    for term life insurance for yourself. DO NOT INCLUDE PREMIUMS FOR INSURANCE ON YOUR
       DEPENDENTS, FOR WHOLE LIFE OR FOR ANY OTHER FORM OF INSURANCE.
       Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
 33    required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
       payments. DO NOT INCLUDE PAYMENTS ON PAST DUE OBLIGATIONS INCLUDED IN LINE 49.

       Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
       Enter the total average monthly amount that you actually expend for education that is a condition of
 34    employment and for education that is required for a physically or mentally challenged dependent child for
       whom no public education providing similar services is available.
       Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
 35    childcare--such as baby-sitting, day care, nursery and preschool. DO NOT INCLUDE OTHER
       EDUCATIONAL PAYMENTS.
       Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
 36    on health care that is required for the health and welfare of yourself or your dependents, that is not
       reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered
       in Line 24B. DO NOT INCLUDE PAYMENTS FOR HEALTH INSURANCE OR HEALTH SAVINGS
       ACCOUNTS LISTED IN LINE 39.
       Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that
       you actually pay for telecommunication services other than your basic home telephone and cell phone
 37    service--such as pagers, call waiting, caller id, special long distance, or internet service--to the extent
       necessary for your health and welfare or that of your dependents. DO NOT INCLUDE ANY AMOUNT
       PREVIOUSLY DEDUCTED.

 38    Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.



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                                      Subpart B: Additional Living Expense Deductions
                            Note: Do not include any expenses that you have listed in Lines 24-37
       Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
       expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
       spouse, or your dependents.

         a.   Health Insurance
 39
         b.   Disability Insurance
         c.   Health Savings Account

       Total and enter on Line 39
       IF YOU DO NOT ACTUALLY EXPEND THIS TOTAL AMOUNT, state your actual total average monthly
       expenditures in the space below:


       Continued contributions to the care of household or family members. Enter the total average actual
       monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
 40    elderly, chronically ill, or disabled member of your household or member of your immediate family who is
       unable to pay for such expenses. DO NOT INCLUDE PAYMENTS LISTED IN LINE 34.

       Protection against family violence. Enter the total average reasonably necessary monthly expenses that
 41    you actually incur to maintain the safety of your family under the Family Violence Prevention and Services
       Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
       court.

       Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
       Local Standards for Housing and Utilities, that you actually expend for home energy costs. YOU MUST
 42
       PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU
       MUST DEMONSTRATE THAT THE ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

       Education expenses for dependent children under 18. Enter the total average monthly expenses that you
       actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or
 43    secondary school by your dependent children less than 18 years of age. YOU MUST PROVIDE YOUR
       CASE TRUSTEE WITH DOCUMENTATION OF YOUR ACTUAL EXPENSES, AND YOU MUST EXPLAIN
       WHY THE AMOUNT CLAIMED IS REASONABLE AND NECESSARY AND NOT ALREADY ACCOUNTED
       FOR IN THE IRS STANDARDS.

       Additional food and clothing expense. Enter the total average monthly amount by which your food and
       clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the
 44    IRS National Standards, not to exceed 5% of those combined allowances. (This information is available
       at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) YOU MUST DEMONSTRATE THAT THE
       ADDITIONAL AMOUNT CLAIMED IS REASONABLE AND NECESSARY.

 45    Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
       charitable contributions in the form of cash or financial instruments to a charitable organization as defined
       in 26 U.S.C. § 170(c)(1)-(2). DO NOT INCLUDE ANY AMOUNT IN EXCESS OF 15% OF YOUR GROSS
       MONTHLY INCOME.

 46    Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.




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B 22C (Official Form 22C) (Chapter 13) (04/13)

                                              Subpart C: Deductions for Debt Payment
       Future payments on secured claims. For each of your debts that is secured by an interest in property that
       you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
       Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is
       the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
       following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
 47    page. Enter the total of the Average Monthly Payments on Line 47.

                     Name of Creditor              Property Securing the Debt           Average         Does payment
                                                                                        Monthly         include taxes
                                                                                        Payment         or insurance?
         a.                                                                                                yes     no
         b.                                                                                                yes     no
         c.                                                                                                yes     no
                                                                                    Total: Add
                                                                                    Lines a, b and c

       Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary
       residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
       you may include in your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor
       in addition to the payments listed in Line 47, in order to maintain possession of the property. The cure
       amount would include any sums in default that must be paid in order to avoid repossession or
 48    foreclosure. List and total any such amounts in the following chart. If necessary, list additional entries on
       a separate page.

                       Name of Creditor                 Property Securing the Debt         1/60th of the Cure Amount
         a.
         b.
         c.
                                                                                          Total: Add Lines a, b and c

       Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
 49    as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
       filing. DO NOT INCLUDE CURRENT OBLIGATIONS, SUCH AS THOSE SET OUT IN LINE 33.
       Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
       resulting administrative expense.
         a.   Projected average monthly chapter 13 plan payment.
         b.   Current multiplier for your district as determined under schedules
 50           issued by the Executive Office for United States Trustees. (This
                                                                                                                        %
              information is available at www.usdoj.gov/ust/ or from the clerk of
              the bankruptcy court.)
         c.   Average monthly administrative expense of chapter 13 case                   Total: Multiply Lines a and b

 51    Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.
                                             Subpart D: Total Deductions from Income
 52    Total of all deductions from income. Enter the total of Lines 38, 46 and 51.


                     Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
 53    Total current monthly income. Enter the amount from Line 20.
       Support income. Enter the monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I, that you received in accordance with
 54
       applicable nonbankruptcy law, to the extent reasonably necessary to be expended for such child.




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B 22C (Official Form 22C) (Chapter 13) (04/13)
       Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
 55    wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
       repayments of loans from retirement plans, as specified in § 362(b)(19).

 56    Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.
       Deduction for special circumstances.
       If there are special circumstances that justify additional expenses for which there is no reasonable
       alternative, describe the special circumstances and the resulting expenses in lines a-c below. If
       necessary, list additional entries on a separate page. Total the expenses and enter the total in Line 57.
       YOU MUST PROVIDE YOUR CASE TRUSTEE WITH DOCUMENTATION OF THESE EXPENSES AND YOU
       MUST PROVIDE A DETAILED EXPLANATION OF THE SPECIAL CIRCUMSTANCES THAT MAKE SUCH
 57    EXPENSES NECESSARY AND REASONABLE.

              Nature of special circumstances                                             Amount of expense

         a.
         b.

         c.
                                                                                          Total: Add Lines a, b, and c

       Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56, and 57 and
 58
       enter the result.
 59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.



                                           Part VI: ADDITIONAL EXPENSE CLAIMS
       Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
       and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
       under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
       monthly expense for each item. Total the expenses.

                                              Expense Description                                                    Monthly Amount
 60
         a.
         b.

         c.
                                                                         Total: Add Lines a, b, and c

                                                       Part VII: VERIFICATION
       I declare under penalty of perjury that the information provided in this statement is true and correct.
       (If this is a joint case, both debtors must sign.)


               Date: 11/6/2014                              Signature:     /s/ Jennifer M. Birdwell
 61
                                                                           Jennifer M. Birdwell

               Date:                                        Signature:
                                                                                            (Joint Debtor, if any)




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